Filed 8/27/24 In re M.G. CA2/8
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                      DIVISION EIGHT

In re M.G., a Person Coming Under                                    B325264
the Juvenile Court Law.
                                                                     Los Angeles County
                                                                     Super. Ct. No. 22LJJP00044B
LOS ANGELES COUNTY
DEPARTMENT OF CHILDREN
AND FAMILY SERVICES,
         Plaintiff and Respondent,
         v.
MICHAEL G.,
        Defendant and Appellant;
C.M.,
         Defendant and Respondent;
M.G., a Minor, etc.,
          Respondent.

     APPEAL from orders of the Superior Court of Los Angeles
County. Stephanie M. Davis, Commissioner. Affirmed.
     Anuradha Khemka, under appointment by the Court of
Appeal, for Defendant and Appellant.
     No appearance for Plaintiff and Respondent.
      Megan Turkat Schirn, under appointment by the Court of
Appeal, for Defendant and Respondent.
      Janette Freeman Cochran, under appointment by the Court
of Appeal, for Minor.
                 _____________________________

                            SUMMARY
       The juvenile court terminated dependency jurisdiction over
the child who is the subject of this appeal, M.G., on October 11,
2022. The juvenile custody order, filed on October 28, 2022 and
signed by the court on November 28, 2022, awarded joint legal
and joint physical custody to the parents. The father appeals,
contending the order for joint physical custody should be reversed
as an abuse of discretion. We find no merit in father’s assertion
and affirm the court’s orders.
                              FACTS
       M.G. was born in December 2014. His parents are
Michael G. (father) and C.M. (mother). They are not married and
do not live together. Mother has another son, R.G., born in May
2013, with a different father whose whereabouts are unknown.
       In January 2022, the Los Angeles County Department of
Children and Family Services (Department) detained M.G. and
R.G. from mother, and released them to the home of father (in
R.G.’s case, temporarily). The boys were detained because on
December 3, 2021, mother had dropped off M.G. at a church,
telling the pastor she could not handle M.G. anymore. Mother
told the pastor he could take M.G. to his grandmother, and gave
the pastor a nonexistent address.
       In March 2022, the juvenile court sustained allegations
under Welfare and Institutions Code section 300, subdivision (b),




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that mother had mental and emotional problems that placed her
two children at risk of harm. (Further statutory references are to
the Welfare and Institutions Code.) These problems included
“diagnoses of depression and schizophrenia, auditory
hallucinations and a history of a suicide attempt,” as well as
thoughts of hurting M.G. on December 3, 2021. Father submitted
to the court’s jurisdiction and agreed to six months of services.
       This appeal concerns only M.G., but some facts concerning
R.G. are relevant.
       On April 11, 2022, both children were declared dependents
of the court. M.G. was removed from mother and placed with
father under the Department’s supervision. The court ordered
monitored visitation with M.G. for mother, with the
Department’s discretion to liberalize visitation “up to release of
the minor.” Among various other orders, including family
preservation services and drug testing for mother, the court
ordered father not to interfere with visitation and not to make
disparaging remarks about mother.
       R.G. was placed home with mother on the condition he was
not to be left alone with her. (Mother lived with her husband,
A.D., and his aunt, both of whom agreed to monitor mother’s
contact with R.G.)
       Father appealed from the disposition orders (case
No. B320058), but the appeal was dismissed as abandoned after
father’s counsel filed a brief pursuant to In re Phoenix H. (2009)
47 Cal.4th 835.
       The disposition order set October 11, 2022 for a judicial
review hearing under section 364, which governs review hearings
in cases where the child is not removed from the physical custody
of his parent at the disposition hearing. Within six months of the




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disposition, the court must hold a hearing to determine whether
continued supervision is necessary. (§ 364, subds. (a) &amp; (c).)
      An interim review report in July 2022 revealed that mother
had failed a drug test on June 3, 2022; mother “was not forth
coming with her relapse” until after the social worker told her of
the positive test result. Mother said she relapsed because of
stresses including the recent death of her best friend. Because of
mother’s relapse, the Department did not liberalize her visits
with M.G., but her other son remained in her home without
incident.
      The July 2022 report also stated that M.G., when away
from his home with father, “speaks freely and acts more confident
as he reports he likes visits [with mother], feels safe and well
cared for in mother[’]s home and would like longer visits.” After
mother’s June 3, 2022 relapse, she tested negative on 10 separate
occasions.
      The Department’s October 10, 2022 status review report,
prepared September 15, 2022, includes mother’s statement that,
at the time of the incident that led to M.G.’s removal, “she was on
psychotropic medications that were causing her to have troubling
side effects that would have her act erratically,” and she has
since “modified her psychotropic medications and has maintained
ongoing contact with her psychiatric social worker and
psychiatrist.” Mother stated her relationship with M.G. was “still
not back to normal, but she wants to continue to repair their
bond.” Mother was enrolled in classes including an intensive
outpatient drug treatment program that she began on July 25,
2022. The program’s September 14, 2022 progress report stated
mother “has shown good insight into her addiction and the




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disease concept” and was “showing excellent progress in
treatment and recovery.”
       As stated at the outset, at the October 11, 2022 review
hearing, the juvenile court terminated jurisdiction over M.G. and
R.G., finding the conditions justifying the initial assumption of
jurisdiction no longer existed. In R.G.’s case, the court granted
full custody to mother, as recommended by the Department.
       In M.G.’s case, the Department adhered to its
recommendation of sole physical custody of M.G. to father. The
court stated it had expected last minute information about the
Department’s recommendation on mother’s visitation, but the
Department’s counsel explained there had been a change in social
workers and the expected information “got lost in a way,” so there
would be no further information.
       The juvenile court did not agree with the Department’s
recommendation for monitored visits for the mother “considering
the status of the other child [R.G.] and the mother’s continued
progress. I don’t see any basis for monitored visits.”
       Father’s counsel asked for sole legal and sole physical
custody, reminding the court of mother’s June 3, 2022 relapse
and of father’s belief that mother did not have “the protective
capacity required to take care of [M.G.].”
       Mother’s counsel requested joint custody, observing the
court had just ordered M.G.’s half brother to be solely in mother’s
care. M.G.’s counsel also argued for joint custody, saying that
M.G. “would like a little bit more time with his mother.” Counsel
stated she had “concerns about the messages being given by the
father to the child based on my conversations with the child,” and
she “[did] not see a safety risk to [M.G.] in having joint custody.”
Counsel for the Department acknowledged “the conflict in the




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[Department’s] recommendations” for the two boys, but had no
further information to offer.
       The court observed there was “an issue of a lack of
coparenting between [father] and [mother]. [Father] throughout
this entire proceeding has never agreed with the orders made by
the court with respect to [M.G.]. He continues to indicate that
[mother] is not acting appropriately and not being appropriate
during the visitation. [¶] I have warned actually both parents in
the past that if there was an inability for them to get along, that
the court would make orders that one or both of them were not
going to like but are going to be in the child’s best interest. And I
think today is the day that the court makes those orders.”
       The court stated that mother “has addressed [her] relapse
and has continued to have her eight-year-old child [R.G.] in her
custody with no issues. [¶] There is no legal basis for the court
to follow the Department’s recommendation with respect to
[M.G.].” The court stated its agreement with M.G.’s counsel that
it was in M.G.’s best interest for his parents to share custody, and
there were no safety concerns.
       After terminating jurisdiction, the court ordered father and
mother to mediation to work out the details of the custody order.
The court warned: “If you do not participate in mediation in good
faith, then . . . I will come back and make the decisions myself.
And I can guarantee that the parent who is not cooperative with
the mediator and does not in good faith participate in the
mediation will not like the orders that the court is making.”
       At the October 28, 2022 hearing, the court was informed
that father refused to participate in the mediation, so there was
no agreement on a custody schedule. The court found there was
not good faith participation by father, and made an order for




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custody time. The court ordered mother to have custody of M.G.
Mondays and Wednesdays from 4:00 p.m. to 7:00 p.m., every
other weekend, plus an alternating holiday schedule and
alternating weeks of summer vacation, with the child’s primary
residence to be with father.
       Father was present by phone at the hearing, but “end[ed]
his call halfway through the hearing.” The court stated: “And
that action explains exactly and his actions throughout these
proceedings explains exactly why the court is making the orders
that it is.”
       Father filed a timely appeal from the orders made at the
October 11 and October 28, 2022 hearings.
                            DISCUSSION
       Father argues the juvenile court abused its discretion when
it ordered joint physical custody of M.G. The order was
“arbitrary and unreasonable,” father says, “given the lack of
progress made by Mother and the state of her relationship with
[M.G.].” Father cites mother’s June 3, 2022 positive drug test
and characterizes her “failure to be forthcoming” about her drug
use at that time as a “red flag” that should not have been
disregarded by the court. Father states he “has a difficult
personality” and his “frustration as a non-offending parent”
should not have had any bearing on the custody orders,
“especially in light of the unresolved safety issues Mother
presented.”
       Father fails to show any abuse of discretion by the juvenile
court. A reviewing court will not disturb a custody
determination in a dependency proceeding unless the trial court
has exceeded the bounds of reason. (In re Stephanie M. (1994)
7 Cal.4th 295, 318-319.) “ ‘ “When two or more inferences can




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reasonably be deduced from the facts, the reviewing court has no
authority to substitute its decision for that of the trial court.” ’ ”
(Id. at p. 319.)
       Here, the facts we have described constitute substantial
evidence supporting the juvenile court’s conclusion that joint
physical custody was in the best interests of the child. Mother’s
other child was placed in her full physical custody, and the
Department offered no justification for a different result for M.G.
The court did not ignore the evidence of mother’s relapse in June
2022; it is father who ignores the evidence that mother had been
enrolled in an intensive outpatient treatment program since July
2022, had tested negative many times after her single positive
test in June 2022, and had shown “excellent progress in
treatment and recovery.” Indeed, father’s statements concerning
mother’s “lack of progress” and “the unresolved safety issues
Mother presented” find no support in the record. And M.G.’s
counsel, as well as mother’s counsel, agreed that joint physical
custody would be in M.G.’s best interest.
       In short, there is no basis upon which this court may
disturb the juvenile court’s custody orders.
                           DISPOSITION
       The juvenile court’s orders awarding joint physical and
joint legal custody of M.G. to father and mother are affirmed.



                                GRIMES, J.
      WE CONCUR:


                         STRATTON, P. J.         VIRAMONTES, J.




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